         Case 4:19-cv-06669-JST Document 18 Filed 12/13/19 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7                       UNITED STATES DISTRICT COURT
 8                     NORTHERN DISTRICT OF CALIFORNIA
 9
10   ROBERT ROSS,                           CASE NO. 3:19-CV-06669-LB
11                   Plaintiff,             [PROPOSED] ORDER EXTENDING
                                            TIME TO RESPOND TO
12       v.                                 DEFENDANT’S 12(B)(6) MOTION
                                            AND EXTENDING TIME TO
13   AT&T MOBILITY, LLC,                    RESPOND TO PLAINTIFF’S
                                            OPPOSITION TO DEFENDANT’S
14                   Defendant.             12(B)(6) MOTION
15                                          Complaint Served: October 25, 2019
16                                          Current 12(b)(6) Response Date:
                                                       December 20, 2019
17
                                            New 12(b)(6) Response Date:
18                                                    January 8, 2020
19                                          Current 12(b)(6) Opposition Reply Date:
                                                       December 27, 2020
20
                                            New 12(b)(6) Opposition Reply Date:
21                                                    January 22, 2020
22
23
24
25        [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO
     DEFANDANT’S 12(b)(6) MOTION AND EXTENDING DEFENDANT’S TIME
26    TO REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S 12(b)(6)
27                              MOTION

28
           Case 4:19-cv-06669-JST Document 18 Filed 12/13/19 Page 2 of 2


 1         Upon consideration of the stipulation filed by the parties, it is ORDERED that
 2   the Plaintiff’s deadline to respond to Defendant’s 12(b)(6) motion is extended by 19
 3   days to January 8, 2020. In addition, it is ORDERED that the period of time that
 4   Defendant shall have to reply to Plaintiff’s Opposition to the 12(b)(6) motion shall be
 5   extended by 7 days, resulting in a deadline of January 22, 2020. Plaintiff’s response is
 6   now due January 8, 2020 and Defendant’s reply is now due January 22, 2020.
 7   The hearing is continued to February 12, 2020.
 8   DATED: December 13 , 2019
 9                                          ______________________________
10                                          Honorable Jon S. Tigar
                                            United States District Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                 2
            [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO
      DEFENDANT’S 12(B)(6) MOTION AND EXTENDING TIME TO RESPOND
        TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S 12(B)(6) MOTION
